
PER CURIAM.
We affirm the order of the trial court denying Gilbert Brinson’s motion to correct illegal sentence; his is a negotiated sentence and is not dependent upon the correctness of his guideline scoresheet. However, the trial court in its order of denial conceded Brin-son’s allegation that his guideline scoresheet erroneously denominates his primary offense at conviction as a level nine offense whereas the record confirms that it is in fact a level seven offense. We affirm the trial court’s ruling but remand for the trial court to prepare and file a corrected scoresheet and forward a copy of same to the Department of Corrections.
CAMPBELL, A.C.J., and FULMER and CASANUEVA, JJ., concur.
